Case 7:22-cv-09326-NSR Document9 Filed PROERSSRECHIPT AND RETURN

U.S. Department of Justice

 

 

 

United States Marshals Service See "Instructions for Service of Process by U.S. Marshal’
DRE ST ne
PLAINTIFF COURT CASE NUMBER
CHRISTIAN CASTELAN 22-cv-09326
DEFENDANT TYPE OF PROCESS
CORRECTIONAL OFFICER KEENAN A. JOHN, et al. Summons & Complaint

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE Correctional Officer Shaun H. Kerr

 

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
Sing Sing Correctional Facility, 354 Hunter Street, Ossining, New York 10562-5442

 

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
—— served with this Form 285
Christian Castelan, 19-A-4453
: : . ue Number of parties to be
Sing Sing Correctional Facility served in this case
354 Hu nter Street Check for service
Ossining, NY 10562 on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

Signature of Attorney other Originator requesting service on behalf of: TELEPHONE NUMBER DATE
[x] PLAINTIFF

>. Narrell CL] DEFENDANT 41/30/2022

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
| acknowledge receipt for the total | Total Process | District of District to SteagtP of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve
(Sign only for USM 285 ifmore é of af
than one USM 2835 is submitted) No. Ue No. 63: 7 15) A ?
{ hereby certify and return that ! [1] have personally served , [7] have legal evidence of service, (have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, ctc. shown at the address inserted below.

 

 

 

 

 

 

 

 

 

 

(7 hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

Name and title of individual served (if'not shown above) 3/ Time “tii

15/23 (000 Om

ignature 4f U.S. Marshal or Deputy

 

 

Address (complete only different than shown above)

  

 

 

Costs shown on attached USMS Cost Sheet >>

 

REMARKS

(Mail gas cetucned 40 sender
Stamp ed- “No longer Nere-

 

Form USM-285
Rev. 03/21
